 CD     Z                                  a     C)     z    CD          H          C)
 Cl)    CD     CD                          CD    0      CD   CD          N)         N)
        LI    CD                           H)    CD    LCD   a           0          N)
 Ft     C)     0                           CD    CD     H-               N)         H
 o      a      LI                          CD    it     CD   CD)                    N)
               It                          a     CD     it   CD          N)         U
 o                                         CD           LI   C)
 o                                         CD    N)     CD   0           N)         N)
 CD            CD                         it     CD     it               0          H
 CD     N)                                      -,      CD               2)
               a                                                                    H
 It     C)           N)    N)     H       0      N)          CD     H
        N)     CD)   FL    0      a       CD     CD     a    CD     a    Z          N)
 N)     (13    CD          LI     CD                    CD   a      H-              N)
 C/)           C)    H-                   ‘-     ‘      a    CD     CD
        H-     0     C/)   LCD    C)      N)           LCD   it                     0
        C/)                 0     0              CA)    CD   H-                     H)        C)
 N)                  0      0     CD      N)     CD          0      CD                        Z
 C/)    0)     CD    CD    a      LI      CD                 CD     it                        N)
                                                                                                    Case 2:09-cr-00369-MCA




        L      CD                it       a      0      it          it              N)   OH
        0      a     it    C)              LI    H)     0    0      CD              N)   N)N)
 )‘    ‘tS     CD    a     CD    a         CD                H)     LI              2)   N)U
        rt     it    H-    CD    CD        CD    it     CD                          N)   H
 w      CD     H-    C/)   C/)   <         LI    a      C)          a               C)   N)JN)
                                  H-      -<     CD     C)   0      CD                   N)H
                                  CD                    CD   CD     <
                                 LCD      N)     N)    CD    0      H-                   HH
                                          C)     CD     it   LI     CD
                                 LI       N)    CD           CD    LC)                   ON)
                                 CD       (&)    CD    it    a                           N)
                                 <1              LI     a           C)                      U
                                 H-             CD     CD    CD     0                    ZN)
                                                                                                    Document 502




        CD    LCD                CD       CD    CD                                       N)N)
C/)           H-     0                    CD    a      LCD   C)     CD
CD      a     Cl)    H)          CD       a     H-     CD    0                                2-)
t)
C       CD    it                 a              CD     H-    CD     a                    C)N)
CD      H)    LI     Z                          LCD    N)    CD     CD                   N)c-)
LI      CD    CD     CD          CD                    FL    CD)    H)        C-)
C/)     CD    it     LI          CD             N)     k<     a     0         CD         N)
CD      a     CD     C)                         CD                  LI        CD         N)C-)
a       CD           a           CD             a      CD)   CD     CD        CD    0
                                 -.
H-      CD    a                       *         H-     N)                                     C)
CD      it    CD     N)                         C)     CD           it        Z     2)        2-)
LCD           a      C)          CD             it     CD    U      a         0               H
        H-    LCD    N)          CD                          H-     CD              U
                                                                                                    Filed 03/07/13




N)      CD     CD    (13         a              CD     0     C)
CD                                              CD     H)    C      C)              N)
a       it    C)                                it           CD     0         Cc,
H-      0     H-     0                                 it    0      CD        C)    2)
C)            C)     CD)                        CD     a     CD     LI        LI
it      a     a      C’                         CD     CD           it        CA)
       CD     CD     N)                         FL                            0)
CD            0      CD’                        CD     a     C)    0
CD     H)     CD     N)                         LI     CD    CD    CD         Cr
It     0             C)                         CD     H)    H-               CA)
       CD     CD                                a      CD    it    CD
       CD     CD     It                                CD    CD               U
       a      it     a                          a      a     a                N)
              CD     CD                                CU          CD         C-)
       LCD    LI     it                                CD    N)    CD
       CD     CD                                it     it    it     0
       H-            it                         a            Cl)    LI
       H
       1             a                          CD     it    it    it
       FL     0      CD                                0     CD
       L<     CD                                             CD
                                                                                                    Page 1 of 1 PageID: 18711
